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4
     Attorney for CLARISA ANG
5

6                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,    ) Case No. 2:08-cr-00318-MCE-7
8
                     Plaintiff,       )
9
                                      ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE SURRENDER
10                                    ) DATE FOR CLARISA ANG
     CLARISA ANG,                     )
11                                    )
12
                     Defendant.       )
     ================================) Judge: Chief Judge Morrison C. England, Jr.
13
            It is hereby stipulated between the parties, Assistant United States Attorney Robert Tice-
14

15
     Raskin, and Michael Long, attorney for CLARISA ANG, that CLARISA ANG’s presently set

16   surrender date of November 1, 2014, should be continued until May 1, 2015. Defendant proffers

17   the following information:
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            (1) The requested modification of her turn-in date is due to the continuing deteriorating
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     health of her husband and co-defendant Cris Ang. The Angs have provided up-to-date medical
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     documentation to the parties concerning Mr. Ang’s recent surgeries and treatment. The court
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22   addressed Mr. Ang’s request for a modification of his own sentence due to the same health concerns

23   (See ECF documents 387, 388, 389 and 391). Mrs. Ang is still employed by the California
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     Department of Motor Vehicles (DMV) and her employment provides medical coverage for both her
25
     and Mr. Ang. Due to the failing health of Mr. Cris Ang, he is no longer able to be employed or
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     financially support himself. Mr. Ang is has undergone recent spinal and lupus-related surgeries that
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28   have cost approximately $200,000. Each specialty doctor visit for related follow-up appointments



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1    cost $350. Mr. Ang would not be able to afford the medical care without the DMV insurance.
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     When Ms. Ang surrenders herself she will lose her job and her health coverage will then terminate.
3
     If Mrs. Ang is no longer employed, Mr. Ang will no longer have any medical coverage and he will
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     not be able to pay for any private health care.
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6            (2) Mr. Ang is no longer able to drive a car – his California driver’s license was suspended

7    due to his health condition. Ms. Ang drives him to his medical appointments. Ms. Ang also
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     provides in-home health care for Mr. Ang on a day-to-day basis, including monitoring and
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     administering his medications.
10
             (3) Clarisa Ang’s own health situation has been deteriorating over the past year. She now
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     suffers from diabetes, which has caused diabetic neuropathy (damage to her nerves due to chronic

13   high blood pressure) and hypertension.
14           Updated medical records for both Cris Ang and Clarisa Ang have been provided to the
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     United States Attorney’s office concerning the medical problems discussed in this request.
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             The Government does not oppose the requested continuance.
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             We respectfully request that the court order that the presently set surrender date of
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19   November 1, 2014, be continued until May 1, 2015, at 12:00 p.m.

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1    Dated: September 29, 2014                            Respectfully submitted,
2
                                                          /s/ Michael D. Long__________
3                                                         MICHAEL D. LONG
                                                          Attorney for Clarisa Ang
4
     Dated: September 29, 2014                            BENJAMIN WAGNER
5
                                                          United States Attorney
6
                                                          /s/ Robert Tice-Raskin____
7                                                         ROBERT TICE-RASKIN
                                                          Assistant U.S. Attorney
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10                                                ORDER
11           Upon good cause shown and the stipulation of the parties, it is ORDERED that the Bureau
12   of Prisons surrender date for Defendant Clarisa Ang, presently set for November 1, 2014, at FCI-
13   Dublin be CONTINUED to May 1, 2015, at 12:00 p.m. at FCI-Dublin. The Clerk of the Court is
14   DIRECTED to serve courtesy copies of this Order on (1) the U.S. Marshals Service, Eastern District
15   of California, (2) the Bureau of Prisons, and (3) the United States Probation Office for the Eastern
16   District of California.
17           IT IS SO ORDERED.
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     DATED: September 30, 2014
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                                                 _____________________________________________
20                                               MORRISON  N C. ENGLLAND, JR, C
                                                                              CHIEF JUDG  GE
                                                 UNITED ST TATES DISSTRICT COU  URT
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